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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    In the Matter of the Application of               CASE NO. C17-1453-JCC
      LUFTHANSA TECHNIK AG, Petitioner, for an
10
      Order Pursuant to 28 U.S.C. 1782 to Take          MINUTE ORDER
11    Discovery, Pursuant to the Federal Rules of Civil
      Procedure, of Respondent Panasonic Avionics
12    Corporation for Use in Foreign Proceedings

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15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court sua sponte. In January 2019, the Court granted
18   Petitioner’s petitions to compel discovery from Respondent and Intervenor for use in foreign
19   patent enforcement actions. (See Dkt. Nos. 79, 80.) The parties have not since engaged in
20   substantive motions practice. The Court last received an update on the status of this matter in
21   March 2020, indicating that the parties may still need to seek relief from this Court and/or move
22   to amend the protective order made by this Court. (Dkt. No. 91).
23          The parties are hereby ORDERED to submit a joint status report apprising the Court
24   about the status of the foreign patent enforcement actions and about the necessity of maintaining
25   the present case on the Court’s docket. The joint status report shall be filed no later than 30 days
26   from the date this minute order is issued.


     MINUTE ORDER
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 1        DATED this 16th day of September 2020.

 2                                                 William M. McCool
                                                   Clerk of Court
 3
                                                   s/Tomas Hernandez
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                                                   Deputy Clerk
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